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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                           GAINESVILLE DIVISION

UNITED STATES OF AMERICA,                 :
                                          :
v.                                        :     CRIMINAL INDICTMENT NO.:
                                          :     2:14-CR-00025-RWS-JCF
FREDERICK FITZGERALD                      :
HINTON                                    :

                ORDER and REPORT AND RECOMMENDATION

         This case is before the Court on Defendant’s Motion To Suppress (Doc. 28)

and Amended Motion To Suppress (Doc. 31). For the reasons discussed below, it

is RECOMMENDED that Defendant’s motions be DENIED.

                                  Procedural History

         A Superseding Indictment filed on July 1, 2013 charges Defendant Frederick

Fitzgerald Hinton (“Defendant”) and his co-defendant LaMichael Jontavious

Lenzy with using a firearm to rob a convenience store. (Doc. 22). Defendant

Hinton filed a motion to suppress DNA evidence (Doc. 28), and then filed an

amended motion on July 30, 2014 in which he also moves to suppress evidence of

a cell phone seized by law enforcement officers. (Doc. 31). On December 18,

2014, the Court conducted a hearing on Defendant’s motions (see Doc. 37), and a

transcript1 of that hearing was filed on January 18, 2015 (Doc. 38). Defendant

filed a post-hearing brief on February 10, 2015 (Doc. 41), the Government

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    References to that transcript will be designated as “Tr. __.”
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submitted a response on March 18, 2015 (Doc. 43), and Defendant replied on April

1, 2015 (Doc. 45). With briefing now complete, the undersigned considers the

merits of Defendant’s motions.

                                  Facts2

      On October 20, 2010, Defendant pleaded guilty to the offenses of burglary

and obstruction of an officer in the Superior Court of Clarke County, Georgia, and

was sentenced under Georgia’s First Offender Act to seven years, 30 months of

which to be served in confinement (with credit for time served since November 12,

2009), and the remainder of the sentence to be served on probation. (See Tr. 29-

31; Def. Ex. 2).    While he was incarcerated in the custody of the Georgia

Department of Corrections (“DOC”), prison officials took a DNA sample (a cheek

swab) and sent it to the Georgia Bureau of Investigation (“GBI”) crime lab on June

21, 2011. (See Tr. 32; Def. Ex. 3). Plaintiff was later released from prison; his

probation apparently began on May 13, 2012. (See Tr. 29-30; Def. Ex. 1).

      Jose Mundo, a DNA analyst at the GBI crime lab testified that the DOC

obtains buccal swabs for DNA for every felony offender that enters the prison

system, regardless of whether or not the person has been sentenced under the First

Offender statute. (Tr. 9). When the crime lab receives DNA samples from the

2
 These facts are taken from the testimony of Kevin Hall Thomas, an Investigator
with the Jackson County Sheriff’s Office, and Jose Mundo, a Forensic Biologist
with the GBI crime lab, as well as exhibits admitted during the December 18, 2014
hearing.
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DOC, lab personnel process the samples to develop a DNA profile, which they

enter into the CODIS3 DNA database. (Tr. 7-8). When the lab receives the

samples from the DOC, personnel does not undertake a review to determine

whether or not the samples were taken in compliance with state or federal law

before putting the DNA profile in the database because they do not have the

resources to conduct such a review.4 (Tr. 9). Instead, they “accept all samples

from the [DOC] under the good faith clause in the statutes.” (Tr. 9, 21; see also

O.C.G.A. § 35-3-165(b)). It is only when the lab determines that a DNA profile in

the database matches another sample that personnel may discover that the DNA

profile comes from a person who was sentenced as a first offender by reviewing

information on the Georgia Crime Information Computer (“GCIC”) and other

sources such as DOC records.      (Tr. 9-10, 23-24).   Mundo testified that it is

“standard procedure” to then remove the DNA profile of the first offender from

CODIS “[b]ecause they are not formally convicted of a felony at that point” and

3
  CODIS stands for “Combined DNA Index System.” Maryland v. King, 133 S.Ct.
1958, 1968 (2013). It “connects DNA laboratories at the local, state, and national
level” and “collects DNA provided by local laboratories taken from arrestees,
convicted offenders, and forensic evidence found at crime scenes.” Id. CODIS
provides “standardization of the points of comparison in DNA analysis,” i.e., “13
loci at which the STR alleles are noted and compared,” which “are from the non-
protein coding junk regions of DNA, and are not known to have any association
with genetic disease or any other genetic predisposition.” Id. (internal quotation
omitted). “Thus, the information in the database is only useful for human identity
testing.” Id. (internal quotation omitted).
4
  Mundo estimated that the lab receives 16,000 to 20,000 samples from the DOC
per year, and the lab has five to seven staff members. (Tr. 14, 28).
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therefore “ineligible for CODIS entry.” (Tr. 26). Even though it was Mundo’s

understanding that such DNA profiles were ineligible for inclusion in CODIS, he

still reported to law enforcement any matches between those profiles and other

samples because he was “not entirely sure if . . . they can pursue that information,

if they can obtain a search warrant based on that information from an individual

that was sentenced under the First Offender Act.” (Tr. 26). He “was advised to

just continue reporting our CODIS matches as we have been, but just notify law

enforcement that this individual was under the First Offender Act at the time that

the sample was collected initially and entered into CODIS” and that “[i]f that’s a

lead that they can pursue, then in order to continue through the match process, we

would require a new sample.” (Id.).

      On November 9, 2013, Investigator Kevin Thomas of the Jackson County

Sheriff’s Office began an investigation of an armed robbery that occurred at a

convenience store earlier on that date.      (Tr. 46-47).   Investigators collected

evidence from the scene of the robbery, which was submitted to the GBI crime lab.

(Id.). Thomas received an April 24, 2014 crime lab DNA report from Mundo,

indicating that DNA samples taken from the evidence from the crime scene

matched Defendant’s DNA profile and the DNA profile of LaMichael Lenzy. (See

Tr. 32-33; Def. Ex. 3). As for Defendant, Mundo also wrote that Defendant had

been “sentenced under the first offender act (O.C.G.A. 42-8-60),” and “[t]his

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offender DNA profile will be removed from the database.” (Id.). The report also

stated

          This information is provided only as an investigative lead, and any
          possible connection or involvement of these individuals to the case
          must be determined through further investigation.
          To proceed, we require [] new biological samples from the offenders
          be submitted as soon as possible. Upon submission, the offenders will
          be added as [] official suspects and a new DNA report will follow.

(Id.).

          After he received the crime lab report, Investigator Thomas interviewed

Defendant at the Clarke County jail.5 (Tr. 50). Thomas admitted that, but for the

crime lab report indicating that Defendant’s DNA profile matched the crime scene

sample, Defendant would not have been a suspect in the armed robbery; he had no

other evidence linking Defendant to the crime. (Tr. 51). Thomas then sought and

obtained warrants to collect DNA samples, i.e., saliva samples, from Hinton and

Lenzy, to send to the crime lab for comparison to the samples obtained from the

crime scene. (Tr. 47-49; see also Govt. Exs. 1, 2). Thomas also applied for and

obtained a search warrant to seize and search Defendant’s cell phone. (Tr. 49-50;

see also Govt. Exs. 4, 5). Thomas “was not familiar with the First Offender status

as to whether or not their DNA sample should have [gone] into CODIS or not,”

and when he applied for the search warrants, he did not know whether or not


5
 Defendant was incarcerated at that point “for felony probation violation.” (See
Govt. Ex. 2 at 1).
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Defendant’s DNA profile should have been in CODIS. (Tr. 48). When he read the

information on the report that the profile “will be removed from the database”

(Def. Ex. 3), that statement did not mean anything to him. (Tr. 55). He viewed

this situation as no different from his other cases where he had received

notifications of a CODIS match or “hit.” (Tr. 48-49).

      After Investigator Thomas obtained the search warrants and new DNA

samples from Defendant and submitted them to the crime lab, he spoke with

Mundo. (Tr. 51, 55-56). Mundo told Thomas that Defendant’s “DNA should not

have been in CODIS because he had been charged in Clarke County under First

Offender status, and due to that first offender status he was not supposed to be in

CODIS.” (Tr. 51-52). Thomas did not understand that to be the case when he

applied for the search warrants and did not believe that the information about

Defendant’s First Offender status pertained to the search warrants, so he had not

put in his search warrant affidavits information about Defendant’s First Offender

status or the crime lab report’s indication that Defendant’s “DNA profile will be

removed from the database.” (Tr. 52, 58-59; see also Def. Ex. 3). At some point

after determining that Defendant’s DNA profile (the one made during his

incarceration) matched a sample taken from crime scene evidence, Mundo

expunged that DNA profile from the database. (Tr. 12-13). He proceeded to




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compare the sample Thomas obtained pursuant to the May 5, 2014 search warrant

with the sample from the crime scene. (Tr. 13).

                                       Discussion

      Defendant contends that because he was sentenced under Georgia’s First

Offender statute, he was not a convicted felon, and therefore, the analysis of his

DNA and creation of a DNA profile, entry of his DNA profile into the CODIS

database, and retention of his DNA profile in CODIS were unreasonable and

violated the Fourth Amendment. (See Doc. 41 at 21-27). Defendant therefore

argues that the Court should suppress evidence of the match between his

improperly retained DNA profile and the DNA obtained from evidence found at

the crime scene, and should also suppress evidence seized pursuant to search

warrants issued as a result of that DNA match, including a subsequent DNA

sample taken from Defendant, the match of that sample to the DNA found at the

crime scene, and Defendant’s cell phone. (Id. at 27-38). Thus, the resolution of

Defendant’s motions turns on a determination of whether any of the following

actions violated Defendant’s Fourth Amendment rights: (1) the initial collection of

Defendant’s DNA, creation of a DNA profile, and entry of that profile in CODIS

while Defendant was incarcerated; (2) the continued retention and use of

Defendant’s DNA profile to match the DNA sample obtained from evidence at the

crime scene following his release from incarceration but while he was still on

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probation; and (3) the use of information concerning that match to apply for and

obtain search warrants authorizing the seizure and search of his cell phone and the

gathering of another DNA sample from Defendant, used to match the DNA sample

from the crime scene.

I.    Initial Collection, Analysis, and Storage of Defendant’s DNA Sample

      While Defendant was incarcerated pursuant to his October 20, 2010 sentence

for burglary and obstruction of an officer under Georgia’s First Offender Act,

prison officials obtained his DNA sample and sent it to the GBI crime lab for

creation of a profile and storage of that profile in CODIS, pursuant to Georgia’s

DNA statute, O.C.G.A. § 35-3-160 et seq. (formerly O.C.G.A. § 24-4-60 et seq.).

That statute provides in relevant part:

      (b) Any person convicted of a felony offense who is held in a
      detention facility or placed on probation shall at the time of entering
      the detention facility or being placed on probation have a sample of
      his or her blood, an oral swab, or a sample obtained from a
      noninvasive procedure taken for DNA . . . analysis to determine
      identification characteristics specific to the person. The provisions
      and requirements of this Code section shall also apply to any person
      who has been convicted of a felony prior to July 1, 2011, and who
      currently is incarcerated in a detention facility, serving a probation
      sentence, or serving under the jurisdiction of the Board of Pardons and
      Paroles for such offense. It shall be the responsibility of the detention
      facility detaining or entity supervising a convicted felon to collect the
      samples required by this Code section and forward the sample to the
      division unless such sample has already been collected by the
      department or another agency or entity.




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      (c) The analysis shall be performed by the division.6 The division
      shall be authorized to contract with individuals or organizations for
      services to perform such analysis. The identification characteristics of
      the profile resulting from the DNA analysis shall be stored and
      maintained by the bureau in a DNA data bank and shall be made
      available only as provided in Code Section 35-3-163.

O.C.G.A. § 35-3-160; see also O.C.G.A. § 35-3-163(a) (“It shall be the duty of the

bureau to receive samples and to analyze, classify, and file the results of DNA

identification characteristics of samples submitted pursuant to Code Section 35-3-

160 and to make such information available as provided in this Code section.”).

Thus, Georgia’s DNA statute requires that the Department of Corrections shall

take a DNA sample, through a cheek swab, of all incarcerated persons convicted of

a felony offense,7 and the GBI shall analyze those samples, create a DNA

identification profile, and enter that profile in a database.

      Defendant contends, however:

      The specific mandate of the Georgia DNA Act, that it applies only to
      ‘convicted offenders, is clear throughout the act. Whether or not the
      offender is a prisoner or a probationer, the conviction requirement
      remains intact. The extraction of the DNA sample, its analysis,

6
  “ ‘Division’ means the Division of Forensic Sciences of the Georgia Bureau of
Investigation.” O.C.G.A. § 35-3-160(a)(2).
7
  The Georgia Department of Corrections Standard Operating Procedures (“SOP”)
IIA24-0001 governing the collection of inmate DNA samples is somewhat
confusing on this point. The SOP states that “[t]hose persons sentenced under the
First Offender Act will not be subject to the process of this Standard Operating
Procedure” (Govt. Ex. 3 at 2), but then in listing offenders eligible for DNA
testing, it includes “an offender sentenced under the First Offender Act only during
incarceration in a state correctional facility.” (See id. at 2-3). That conflict is not
material to the Court’s resolution of Defendant’s motions.
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      creation of a DNA profile, the entry into a database and dissemination
      to law enforcement are all predicated by the offender’s status as a
      ‘convicted’ person. It therefore logically follows that it does not
      apply to an ‘unconvicted’ First offender.

(Doc. 41 at 15). The undersigned disagrees. Defendant was sentenced under

Georgia’s First Offender Act, which provides in relevant part, “Upon fulfillment of

the terms of probation, upon release by the court prior to the termination of the

period thereof, or upon release from confinement, the defendant shall be

discharged without court adjudication of guilt,” and “the discharge shall

completely exonerate the defendant of any criminal purpose and shall not affect

any of his or her civil rights or liberties; and the defendant shall not be considered

to have a criminal conviction.” O.C.G.A. § 42-8-62(a). “The expungement of first

offender sentences is always dependent upon successful completion of the

sentence.” Bradford v. United States, No. 7:10-CV-90075-WLS et al., 2010 U.S.

Dist. LEXIS 54399, at *2 n.1 (M.D. Ga. Apr. 21, 2010).

      There is no evidence in the record that Defendant fulfilled all the terms of

his sentence under the First Offender Act and was discharged under that Act prior

to any of the events giving rise to this motion. He was incarcerated when officials

obtained his DNA, created a DNA profile, and stored the profile in CODIS. It

appears that he was still on probation pursuant to the terms of his October 2010

sentence when his DNA profile was matched to the crime scene evidence (see Def.

Exs. 1, 2), and when Investigator Thomas obtained the May 5, 2014 search
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warrants, Defendant had been arrested on a probation violation (see Govt. Ex. 2).

Moreover, the First Offender Act provides that while Defendant was incarcerated,

he was “deemed to have been convicted of the offense during such term of

confinement for all purposes except that records thereof shall be treated as any

other records of first offenders under this article and except that such presumption

shall not continue after completion of such person’s confinement sentence.”

O.C.G.A. § 42-8-65(c). “Upon completion of the confinement sentence, such

person shall be treated in the same manner and the procedures to be followed by

the court shall be the same as in the case of a person placed on probation under this

article.” Id. Neither the DNA statute or the First Offender Act indicate that

incarcerated persons sentenced under the First Offender Act—who are deemed to

be convicted during their incarceration, O.C.G.A. § 42-8-65(c)—are exempt from

the requirements of the DNA act.

      Thus, because Defendant was incarcerated and deemed a convicted felon

during his incarceration, even as a First Offender, Georgia’s DNA Act required

prison officials to take Defendant’s DNA’s sample and forward it to the GBI for

“DNA . . . analysis to determine identification characteristics specific to the

person,” and further required the GBI to perform that analysis and to “store[] and

maintain[]” the DNA analysis “in a DNA data bank.” See O.C.G.A. § 35-3-160(b)

& (c); see also O.C.G.A. § 35-3-163(a) (“It shall be the duty of the bureau to

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receive samples and to analyze, classify, and file the results of DNA identification

characteristics of samples submitted pursuant to Code Section 35-3-160 and to

make such information available as provided in this Code section.”).

      The undersigned acknowledges that Jose Mundo with the GBI crime lab

testified that DNA profiles from persons who are sentenced under the First

Offender statute, such as Defendant, are “not eligible for CODIS” because “they

are not technically convicted of a felony.” (See Tr. 12, 42). He further testified

that he would take a first offender’s DNA profile out of the database, regardless of

whether the person was incarcerated or not (Tr. 16), thus indicating that he believes

that, even during a period of incarceration, a first offender’s DNA profile should

not be included in the database. The text of both the First Offender statute and

Georgia’s DNA statute do not indicate that Defendant’s DNA profile was “not

eligible for CODIS,” in particular while he was incarcerated. The First Offender

statute clearly provides that while he was incarcerated, Defendant was “deemed to

have been convicted of the offense during such term of confinement,” O.C.G.A. §

42-8-65(c), and the DNA statute clearly provides that the DOC shall obtain a DNA

sample from all persons “convicted of a felony offense who is held in a detention

facility,” that the DOC shall provide that sample to the GBI, and the GBI shall

“analyze, classify, and file the results of DNA identification characteristics” of the

samples provided by the DOC. O.C.G.A. §§ 35-3-160(b) & 35-3-163(a).

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      Nor is Mr. Mundo’s understanding that Defendant’s DNA profile should not

have been included in CODIS—even during his incarceration—supported by case

law from this Court. As District Judge Richard W. Story explained in Tobias v.

Georgia Department of Corrections, Defendant was “deemed a convicted felon at

all times during the period [he was] serving [his] term of confinement,” and “[a]s

an incarcerated convicted felon, [Defendant was] required to submit a DNA

sample to GDOC for analysis and storage in a GBI data bank.” No. 2:08-CV-62-

RWS, 2009 U.S. Dist. LEXIS 7532, at *6-7 (N.D. Ga. Feb. 3, 2009) (emphasis

added); see also Davis v. Ga. Dep’t of Corr., No. 2:08-CV-59-RWS, 2009 U.S.

Dist. LEXIS 52532, at *7-8 (N.D. Ga. June 19, 2009) (similarly rejecting the

plaintiff’s argument that she was not a convicted felon for purposes of Georgia’s

DNA statute (formerly O.C.G.A. § 24-4-60) because she was sentenced under

Georgia’s First Offender Act: “Even assuming that Plaintiff has completed her

term of confinement in prison, a review of Plaintiff’s complaint reflects that she

had been serving her state sentence under the Act at the time the DNA sample was

collected,” was “deemed a convicted felon at all times during the period she served

her term of confinement in prison,” and “[a]s an incarcerated, convicted felon,

Plaintiff was therefore required to submit a DNA sample to GDOC for analysis

and storage in a GBI data bank.” (emphasis added)).




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      Moreover, the critical inquiry before the Court is whether the challenged

search violated Defendant’s Fourth Amendment rights, not state law. See United

States v. Noriega, 676 F.3d 1252, 1263 n.4 (11th Cir. 2012) (“[T]he district court

was not required to suppress the evidence on the ground that the state rule had been

violated because federal law, not state law, governs the admissibility of evidence in

federal court, and ‘complaints that the evidence was obtained in violation of state

law are of no effect.’ ” (quoting United States v. Glinton, 154 F.3d 1245, 1252

(11th Cir. 1998))); see also United States v. Torres, No. CR414-348, 2015 U.S.

Dist. LEXIS 6330, at *7-10 (S.D. Ga. Jan. 14, 2015) (rejecting the defendant’s

reliance on the state agents’ violation of a state statute concerning the issuance of

subpoenas in support of his motion to suppress evidence because “ ‘federal courts

in a federal prosecution do not suppress evidence that is seized by state officers in

violation of state, so long as the search complied with the Fourth Amendment’ ”

(quoting United States v. Wheelock, 772 F.3d 825, 830 (8th Cir. 2014))), adopted

by 2015 U.S. Dist. LEXIS 45528 (S.D. Ga. Apr. 7, 2015); United States v. Hill,

No. CR 114-028, 2014 U.S. Dist. LEXIS 151854, at *9-10 (S.D. Ga. Sept. 15,

2014) (rejecting defendant’s contention that evidence of recordings made without

his consent violated state law and therefore must be suppressed because “federal

law requires consent of only one party to the conversation,” and “[s]o long as one

party to the record conversation knows about and consents to it, there is no Fourth

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Amendment prohibition to using such evidence in a criminal prosecution”),

adopted by 2014 U.S. Dist. LEXIS 150711 (S.D. Ga. Oct. 23, 2014).

      The Fourth Amendment provides that “the right of the people to be secure in

their persons, houses, papers, and effects, against unreasonable searches and

seizures, shall not be violated, and no Warrants shall issue, but upon probable

cause, supported by Oath or affirmation, and particularly describing the place to be

searched, and the persons or things to be seized.” U.S. CONST. amend IV. Turning

to whether the collection of Defendant’s DNA sample, the analysis of that sample

to create a DNA identification profile, and the entry of that profile on CODIS

violated Defendant’s Fourth Amendment rights, the undersigned easily concludes

that they did not.    “Because the ‘[t]ouchstone of the Fourth Amendment is

reasonableness, . . . the reasonableness of a search is determined by assessing, on

the one hand, the degree to which it intrudes upon an individual’s privacy and, on

the other, the degree to which it is needed for the promotion of legitimate

governmental interests.’ ” United States v. Boynton, 337 Fed. Appx. 801, 803

(11th Cir. 2009) (unpublished opinion) (quoting United States v. Knights, 534 U.S.

112, 118-19 (2001) (internal quotation omitted)).

      In Padgett v. Ferrero, 294 F. Supp. 2d 1338, 1344 (N.D. Ga. 2003), District

Judge Thomas W. Thrash, Jr., found that Georgia’s DNA statute does not violate

the Fourth Amendment “[b]ecause DNA sampling is reasonable is light of the

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strong interests of the state and the diminished privacy interests of [inmates].” In

rejecting the inmate plaintiffs’ “claim that the statute violates their right to privacy

under the Federal and Georgia constitutions,” Judge Thrash explained:

       The identification of convicted felons is a legitimate state interest of
       great importance, and though oral swabbing or taking a blood sample
       is slightly more invasive than fingerprinting or photographing, it is
       justified by its increased accuracy and immutability.                Upon
       imprisonment, convicted felons are subject to much greater losses of
       privacy than the minimal intrusion necessary to obtain a DNA sample
       . . . . Plaintiffs’ right to privacy in their identification, assuming one
       exists, is substantially outweighed by the interests of the state in
       having available a DNA database that can be used in solving crimes
       and exonerating the innocent.

Id. The Eleventh Circuit affirmed that decision, Padgett v. Donald, 401 F.3d 1273

(11th Cir. 2005), holding that Georgia’s DNA statute—which “require[s]

convicted, incarcerated felons to provide a sample of their DNA to the Georgia

Department of Corrections . . . for analysis and storage in a data bank maintained

by the [GBI]”—does not violate prisoner’s Fourth Amendment rights. Id. at 1274-

75.

       The court acknowledged in Padgett that the “required extraction of saliva for

DNA profiling constitutes a ‘search’ within the meaning of the Fourth

Amendment,” and then considered whether such a search, conducted without a

warrant, was reasonable. Id. at 1277. In doing so, it utilized the approach set out

in United States v. Knights, 534 U.S. 112 (2001) in considering whether

warrantless searches of probationers were reasonable under the Fourth
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Amendment, i.e., “whether the statute is reasonable under a totality of the

circumstances analysis.” Id. at 1280. Thus, the court “employ[ed] a balancing

test, weighing the degree to which the search intrudes on an individual’s privacy

against the degree to which it promotes a legitimate governmental interest.” Id. at

1280 (citing Knights, 534 U.S. at 118-19). The court then held that the statute does

not violate the Fourth Amendment because “Georgia’s legitimate interest in

creating a permanent identification record of convicted felons for law enforcement

purposes outweighs the minor intrusion involving in taking prisoners’ saliva

samples and storing their DNA profiles, given prisoners’ reduced expectation of

privacy in their identities[.]” Id.; see also Davis, 2009 U.S. Dist. LEXIS 52532, at

*6-9; Tobias, 2009 U.S. Dist. LEXIS 7532, at *5-7. More recently, the Supreme

Court upheld the constitutionality of Maryland’s DNA statute, which authorizes

the collection of DNA samples for analysis from all persons merely arrested on

felony charges. Maryland v. King, 133 S. Ct. 1958 (2013). Thus, the undersigned

finds that the statutorily required collection of Defendant’s DNA sample for GBI

analysis, creation of a DNA profile, and input of that profile into CODIS while he

was incarcerated did not violate his Fourth Amendment rights.

      Defendant concedes that “[a] challenge to the taking of the defendant’s DNA

while he was serving the confinement part of his First Offender sentence is

foreclosed to the defendant by O.C.G.A. § 42-8-65(c) and also by Judge Story’s

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holdings in Tobias . . . and Davis[.]” (Doc. 41 at 21). He then appears to

challenge the subsequent “analysis, creation of his DNA profile, [and] entry in

CODIS,” which also occurred while he was incarcerated. (See id.). He fails,

however, to explain why “Georgia’s legitimate interest in creating a permanent

identification record of convicted felons for law enforcement purposes,” which

supports the taking of a sample as required under the statute, see Padgett, 401 F.3d

at 1280, does not also justify the statutorily required analysis of that sample for

identification purposes and entry of that DNA identification profile in the database,

i.e., CODIS, particularly while Defendant was incarcerated.        It is difficult to

imagine how the taking of a DNA sample which then goes unanalyzed furthers

Georgia’s legitimate interest in creating a permanent identification record of

convicted felons for use in “solving crimes and exonerating the innocent.”

Padgett, 294 F. Supp. 2d at 1344. Nor does case law indicate that the creation of a

DNA profile and entry of that profile on CODIS were an unreasonable intrusion on

Defendant’s expectation of privacy, which was by necessity greatly diminished due

to his incarceration.

      The undersigned finds Georgia’s interest in maintaining a DNA database for

those who have been incarcerated for felony offenses applies with equal force to

those sentenced and incarcerated under the First Offender Act for a felony offense

and therefore deemed to be convicted during their incarceration. Although a first

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offender who fulfills the terms of his sentence, including probation, “shall be

discharged without court adjudication of guilt” and “shall not be considered to

have a criminal conviction,” O.C.G.A. § 42-8-62, that benefit is conditioned on the

successful completion of the offender’s sentence. “[T]he trial court ‘may’ enter an

adjudication of guilt” if the first offender violates the terms of his probation,

although it is not require to do so. Davis v. State, 537 S.E. 2d 663, 665 (Ga. 2000);

see also O.C.G.A. § 42-8-60(b). Given the significant ramifications of a first

offender’s discharge of a felony offense, i.e., “adjudication without court

adjudication” and lack of criminal conviction for that offense, the state surely has

an interest in creating and storing even a first offender’s DNA profile for use in

determining whether he has subsequently committed another offense for which he

may lose the benefit of the being sentenced as a first offender.

      Accordingly, the undersigned finds that the taking of Defendant’s DNA

sample, the analysis of that sample and creation of a DNA profile, and inclusion of

that profile on CODIS while he was incarcerated did not violate his Fourth

Amendment rights. Therefore, to the extent that Defendant moves to suppress

evidence on the grounds that a DNA identification profile was unlawfully

developed    from    his   DNA     sample     and   entered   into   CODIS,    it   is

RECOMMENDED that his motions be DENIED.




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       The undersigned now considers whether the retention of Defendant’s DNA

profile and subsequent use of that profile to match DNA found at the crime

scene—after he was no longer incarcerated but was still on probation under the

First Offender Act—violated his Fourth Amendment rights.

II.    Retention Of DNA Sample And Comparison To Crime Scene Sample

       Georgia’s DNA statute provides that “[u]pon request from a prosecutor or

law enforcement agency, the bureau may compare a DNA profile from an analysis

of a sample from a suspect in a criminal investigation where the sample was

[lawfully obtained] to DNA profiles lawfully collected and maintained by the

bureau.”8 O.C.G.A. § 35-3-163(b). The undersigned finds that Defendant’s DNA

profile was “lawfully collected,” as discussed above, but Defendant contends that it

was not “lawfully maintained by the bureau” because once he was released from

incarceration, he was no longer deemed convicted under the First Offender Act.

Therefore, Defendant argues that his DNA profile should not have been available

in CODIS for comparison with the DNA samples taken from the crime scene. (See

Doc. 41 at 23-24).


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  The statute further provides that the GBI shall not add the DNA profile from a
DNA sample from a suspect “to any DNA data bank except upon conviction as
provided in this article.” O.C.G.A. § 35-3-163(b). Defendant cites that statute in
apparent support of his contention that his profile should not have been added, but
that section refers to the profiles of suspects who are compared to those profiles
already lawfully in the system; it is those suspects’ profiles that cannot be added to
the database except upon conviction.
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      Once Defendant was released from his incarceration and began his

probation, he was no longer “deemed convicted” under the First Offender Act. See

O.C.G.A. § 42-8-65(c). He was on probation, however, when his DNA profile was

compared to the DNA samples taken from items from the crime scene. (See Def.

Exs. 1, 2; Govt. Ex. 2 at 1). Thus, at that point, although he was not deemed

convicted, he had also not yet fulfilled the terms of his probation and therefore had

not been “discharged without court adjudication of guilt” under the Act. See

O.C.G.A. § 42-8-62(a). Georgia’s DNA statute is silent on what should happen to

lawfully obtained DNA profiles of incarcerated persons sentenced under the First

Offender Act—deemed to be convicted during their incarceration—after their

incarceration ends. The statute provides:

      (b) A DNA sample obtained in good faith shall be deemed to have
      been obtained in accordance with the requirements of this article and
      its use in accordance with this article is authorized until a court order
      directing expungement is obtained and submitted to the bureau.

O.C.G.A. § 35-3-165(b). Defendant’s DNA sample was obtained in compliance

with the requirements of the statute while he was incarcerated, thus “obtained in

good faith,” and therefore, its use to prepare, store, and compare the DNA profile

developed from the crime scene sample was “authorized until a court order

directing expungement [was] obtained and submitted to the bureau.” No such

order is in the record.



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      The statute does provide the following relief for those whose convictions

have been reversed:

      (a) A person whose DNA profile has been included in the data bank
      pursuant to this article may request that it be expunged on the grounds
      that the conviction on which the authority for including his or her
      DNA profile was based has been reversed and the case dismissed.
      The bureau shall purge all records and identifiable information in the
      data bank pertaining to the person and destroy all samples from the
      person upon receipt of a written request that such data be expunged,
      pursuant to this Code section, and a certified copy of the court order
      reversing and dismissing the conviction.

O.C.G.A. § 35-165(a). Thus, “[t]he statute does not require the State to purge

lawfully collected forensic profiles from its database, or to delete from those

profiles information related to unsuccessful criminal prosecutions.” Fortune v.

State, 685 S.E. 2d 466, 471 (Ga. App. 2009). Instead, “the statute puts the burden

on the defendant to take action to expunge his information from the database under

certain conditions, not on the State to do so automatically.” Id. at 470.

      More importantly, the retention of Defendant’s DNA profile in CODIS and

use of that profile to match the sample taken from the crime scene did not violate

his Fourth Amendment rights. In the first place, persuasive authority indicates that

such retention and use does not constitute a search under the Fourth Amendment,

separate from the initial taking of the DNA sample, creation of the DNA profile,

and storage of that profile on CODIS. See, e.g., Boroian v. Mueller, 616 F.3d 60,

67-68 (1st Cir. 2010) (“Therefore, we join the other courts to have addressed the

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issue in holding that the government’s retention and matching of Boroian’s profile

against other profiles in CODIS does not violate an expectation of privacy that

society is prepared to recognize as reasonable, and thus does not constitute a

separate search under the Fourth Amendment.”); Wilson v. Collins, 517 F.3d 421,

428 (6th Cir. 2008) (“[T]o the extent the claim is premised on the retention and

disclosure of personal DNA information, it does not implicate the Fourth

Amendment” (citing Johnson v. Quander, 440 F.3d 489 (D.C. Cir. 2006)));

Johnson, 440 F.3d at 499 (D.C. Cir. 2006) (“[W]e conclude that accessing the

DNA snapshots contained in the CODIS database does not independently implicate

the Fourth Amendment. We note that the consequences of the contrary conclusion

would be staggering: Police departments across the country would face an

intolerable burden if every ‘search’ of an ordinary fingerprint database were

subject to Fourth Amendment challenges.             The same applies to DNA

fingerprints.”).

      In United States v. Davis, 690 F.3d 226 (4th Cir. 2012), a case cited by

Defendant (see Doc. 41 at 19), the court noted that “at least some courts have

concluded that once a DNA profile has been lawfully obtained and entered into

CODIS, the retention of that profile and ‘periodic matching of the profile against

other profiles in CODIS for the purpose of identification’ is not a search because it

does not intrude upon an offender’s legitimate expectation of privacy,” quoting

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Boroian, 616 F.3d at 67-68. 690 F.3d at 246. The court in Davis also observed,

however, that “[o]ther courts, at least in principle, have left open the possibility

that an unrelated examination after DNA retention could be a separate search for

Fourth Amendment purposes,” citing United States v. Amerson, 483 F.3d 73, 85

n.12 (2d Cir. 2007). 690 F.3d at 246-47. In Amerson, the court explained that

“[t]here is . . . a second and potentially more serious invasion of privacy

occasioned by the [federal] DNA Act,” and “the analysis and maintenance of

offenders’ information in CODIS, the federal database is, in itself, a significant

intrusion.” 483 F.3d at 85 (internal quotation omitted). In light of that authority

and in an abundance of caution, the undersigned will assume for the sake of

discussion that the GBI’s retention and use of Defendant’s DNA profile to match

that profile to crime scene evidence implicated the Fourth Amendment.           The

undersigned finds, however, that in balancing “the degree to which the search

intrudes on [Defendant’s] privacy against the degree to which it promotes a

legitimate governmental interest,” Padgett, 401 F.3d at 1280, the retention and use

of Defendant’s DNA was reasonable and did not violate the Fourth Amendment.

      In considering the weight to be given to Defendant’s expectation of privacy,

Defendant urges the Court to view him as “an ‘unconvicted’ First Offender,” who

“had a right to expect that his records, including the record of his DNA profile,

would be kept confidential and excluded from CODIS.” (Doc. 41 at 23-24). The

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undersigned disagrees. First, for the reasons already discussed above, neither the

text of Georgia’s First Offender and DNA statute, nor relevant case authority

support Defendant’s asserted expectation that his DNA profile would be “excluded

from CODIS.” The undersigned also observes that even when a first offender

completes his sentence and is discharged, he has no right to expungement of his

public court records, thus indicating an expectation that a first offender’s record of

his prosecution and sentence shall remain public. See O.C.G.A. § 42-8-62(a)

(“The criminal file, docket books, criminal minutes and final record, and all other

records of the court relating to the offense of a defendant who had been discharged

without court adjudication of guilt pursuant to this subsection shall not be altered

as a result of that discharge, except for the entry of discharge thereon required by

this subsection, nor shall the contents thereof be expunged or destroyed as a result

of that discharge.”); see also State v. CSB, 297 S.E. 2d 260, 262 (Ga. 1982)

(reversing order directing expungement of first offender records).

      Furthermore, although Defendant had been released from incarceration when

his DNA profile was matched, he was still a probationer. The degree to which the

challenged actions intruded on his privacy was minimal in light of that status.

“The Fourth Amendment’s protection against unreasonable searches and seizures

unquestionably applies to probationers.” United States v. Wasser, 586 Fed. Appx.

501, 504 (11th Cir. 2014) (unpublished decision). “Probationers, however, have a

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diminished expectation of privacy and ‘are subject to limitations to which ordinary

citizens are free.’ ” Id. (quoting Owens v. Kelley, 681 F.2d 1362, 1367-68 (11th

Cir. 1982)).

      Moreover, as found by the Supreme Court in King, “the processing of

respondent’s DNA sample’s 13 CODIS loci did not intrude on [his] privacy in a

way that would make his DNA identification unconstitutional.” 133 S. Ct. at 1979.

The Court explained, “the CODIS loci come from noncoding parts of the DNA that

do not reveal the genetic traits of the arrestee,” and “alleles at the CODIS loci are

not at present revealing information beyond identification.” Id. (internal quotation

omitted). The Court in King and other courts have also likened the creation and

storage of DNA profiles to the maintenance of fingerprint records and explained

that the matching of information to such records minimally infringes on a person’s

legitimate expectation of privacy, if at all. See King, 133 S. Ct. at 1976-77;

Boroian, 616 F.3d at 67.

      On the other side of the scale rests the state’s legitimate interests in

identifying those it has incarcerated as well as those on probation, and critically, its

significant interests in maintaining a database that assists it in apprehending the

guilty and exonerating the innocent.        Furthermore, as the Court in Knights

explained “[i]n assessing the governmental interest side of the balance, it must be

remembered that the very assumption of the institution of probation is that the

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probationer is more likely than the ordinary citizen to violate the law.” 534 U.S. at

120 (internal quotation omitted).      “And probationers have even more of an

incentive to conceal their criminal activities and quickly dispose of incriminating

evidence than the ordinary criminal because probationers are aware that they may

be subject to supervision and face revocation of probation, and possible

incarceration, in proceedings in which the trial rights of a jury and proof beyond a

reasonable doubt, among other things, do not apply.” Id. Thus, the Court found,

the state’s “interest in apprehending violators of the criminal law, thereby

protecting potential victims of criminal enterprise, may therefore justifiably focus

on probationers in a way that it does not on the ordinary citizen.” Id. at 121.

      The undersigned finds that state’s interests in maintaining a DNA database

containing the DNA profiles of those who have been previously incarcerated on

felony offenses continues after those persons are released from incarceration and

outweighs the minor intrusion of maintaining a probationer’s lawfully obtained

DNA profile in the database. Accordingly, the undersigned finds that the retention

and use of Defendant’s DNA profile while he was on probation were reasonable

under the Fourth Amendment. See, e.g., Amerson, 483 F.3d at 85-89 (finding that

the taking and storing of probationers’ DNA samples under the federal DNA Act

did not violate the Fourth Amendment, even after their probation ended, given the

limited identifying information the DNA profiles currently contain and limitations

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on how the profiles can be released, the reduced expectation of privacy enjoyed by

probationers when they provided the DNA samples, and the strong government

interests, including its interests in maintaining those profiles to apprehend and

convict the guilty and exonerate the innocent); United States v. Weikert, 504 F.3d

1, 14-15 (1st Cir. 2007) (concluding “that the government’s important interests in

monitoring and rehabilitating supervised releases, solving crimes, and exonerating

innocent individuals outweigh Weikert’s privacy interests, given his status as a

supervised release, the relatively minimal inconvenience occasioned by a blood

draw, and the coding of genetic information that, by statute, may be used only for

purposes of identification”).

         Moreover, as discussed above, the weight of the state’s legitimate interests

in apprehending the guilty and exonerating the innocent is not diminished by the

fact that Defendant was on probation as a first offender when the match occurred.

It can be argued that a probationer sentenced under the First Offender Act has an

even greater incentive to conceal his criminal activities than was described in

Knights, i.e., the loss of first offender treatment for the original offense. Certainly

the state maintains a legitimate interest in determining whether a first offender has

committed additional offenses before his original offenses—particularly those

serious enough to warrant incarceration—are discharged without an adjudication of

guilt.

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        Accordingly, to the extent that Defendant moves to suppress evidence on the

grounds that his DNA identification profile was unlawfully retained and used to

compare to a DNA sample taken from the crime scene, it is RECOMMENDED

that his motions be DENIED.

III.    Evidence Seized Pursuant To Search Warrants

        “Where a search is conducted under the authority of a warrant, the defendant

challenging the search carries the burden of showing the warrant to be invalid.”

United States v. Kilgore, No. 1:11-cr-00518-CAP-RGV, 2012 U.S. Dist. LEXIS

154148, at *14 (N.D. Ga. Sept. 13, 2012) (internal quotation omitted), adopted by

2012 U.S. Dist. LEXIS 153867 (N.D. Ga. Oct. 26, 2012). “It is not easy for a

Defendant to meet this burden, and a judicial preference is accorded searches under

a warrant.” United States v. Teague, No. 2:10-CR-006-RWS-SSC, 2010 U.S. Dist.

LEXIS 142717, at *86 (N.D. Ga. Nov. 22, 2010) (internal quotation omitted),

adopted by 2011 U.S. Dist. LEXIS 42260 (N.D. Ga. Apr. 19, 2011).

        After receiving information from the GBI crime lab that Defendant’s DNA

identification profile matched that of one of the samples taken from evidence

found at the crime scene, Investigator Thomas sought and obtained search

warrants, signed by a Jackson County Magistrate Judge on May 5, 2014,

authorizing the collection of another DNA sample from Defendant and the seizure




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and search of his cell phone. (See Govt. Exs. 1, 2, 4, 5). Thomas wrote in his

affidavit in support of his search warrant applications:

      On 11/11/2013, Affiant was assigned case # 2013-52236, which was
      an incident of Armed Robbery, Aggravated Assault, Burglary in the
      2nd degree and False Imprisonment. This incident occurred in
      Jackson County, on 11/09/2013, at the Mary’s B.P. gas station located
      at the corner of GA. HWY. 11 and Jackson Trail Road, Jefferson,
      Georgia.
             At 9:41 pm, two black male suspects, with black hoodies on
      and bandanas over their faces (partially) forcefully entered the store,
      through the front doors, armed with a rifle and pistol. They assaulted
      the owner/victim with their firearms by “pistol whipping” him about
      his head and face and struck him in between his eyes, with the end of
      the rifle. They dragged him behind the store counter where the
      suspect with the pistol continued to beat him with his pistol. They
      then stole the whole cash register as well as money from a large safe
      that was also behind the counter. They then fled the scene, leaving
      the victim behind.
             Upon the two suspects leaving the scene, they took off their
      clothing, black hoodie, gloves, cap, bandanas, and left them on
      Jackson Trail Road. These items were recovered by the Jackson
      County Sheriff’s Office and turned over to the Affiant. Affiant
      secured and packaged these items in order for them to be sent to the
      Georgia Division of Forensic Sciences, Georgia Bureau of
      Investigations, for processing for trace evidence and DNA recovery.
             On 04/29/2014, Affiant was notified by the Division of
      Forensics and Sciences, that they had a possible investigative lead,
      related to a DNA match via a search of the DNA database or CODIS.
      (Combined DNA Index System) They had (2) two CODIS matches
      from the evidence submitted. One of the matches was to Frederick
      Fitzgerald Hinton, the suspect who is the focus of this search warrant.

(Govt. Exs. 2, 4). In support of the search warrant to take another DNA sample,

Thomas also wrote that the GBI crime lab “advised that a new biological sample




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would need to be taken from the suspect, in order to further their investigation.”

(Govt. Ex. 2 at 6-7).

      Defendant argues that the evidence seized pursuant to these warrants must

be suppressed because “the illegal search of the defendant’s DNA, including the

processing of the DNA to create a profile and entry and retention in CODIS was

the sole basis upon which the subsequent warrants were sought and issued,” and

“[t]he illegally acquired match of the defendant’s DNA no doubt tainted the

subsequent search warrants.” (Doc. 41 at 32). “If a search warrant is based on

probable cause discovered because of an illegal search, generally the search

warrant is tainted and the evidence obtained pursuant thereto is inadmissible.”

United States v. Zarabozo, 378 Fed. Appx. 939, 940 (11th Cir. 2010) (unpublished

decision) (citing United States v. McGough, 412 F.3d 1232, 1240 (11th Cir.

2005)). As discussed above, the undersigned finds that the creation of a DNA

profile from Defendant’s DNA sample, the entry of that profile into CODIS, and

the retention of that profile and use to compare with the samples taken from the

crime scene were not illegal and did not violate the Fourth Amendment.

Accordingly, those actions did not impermissibly taint the search warrants, and the

information concerning the match of DNA from the crime scene to Defendant’s

DNA profile properly supported a finding of probable cause to issue the warrants.




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      Defendant also contends that “[a]ny evidence acquired by means of the

search warrants should be suppressed for the additional reason that Thomas

intentionally left out of his affidavit, material statements from the same GBI report

that he quoted to establish probable cause.”       (Doc. 41 at 33).     Specifically,

Defendant points out that Thomas included the information from the crime lab

report that one of the samples obtained from crime scene evidence matched

Defendant’s DNA profile, but he did not include information in the report that

Defendant was “sentenced under the first offender act (O.C.G.A. § 42-8-60). This

offender DNA profile will be removed from the database.” (See Doc. 41 at 28-30;

see also Def. Ex. 3 at 1; Govt. Exs. 2, 4).

      “[A] warrant affidavit violates the Fourth Amendment when it contains

omissions ‘made intentionally or with a reckless disregard for the accuracy of the

affidavit.’ ” Madiwale v. Savaiko, 117 F.3d 1321, 1326-27 (11th Cir. 1997)

(quoting United States v. Martin, 615 F.2d 318, 329 (5th Cir. 1980)9). “A party

need not show by direct evidence that the affiant makes an omission recklessly.

Rather, it ‘is possible that when the facts omitted from the affidavit are clearly

critical to a finding of probable cause the fact of recklessness may be inferred from

proof of the omission itself.’ ” Id. at 1327 (quoting Martin, 117 F.2d at 329).

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  Decisions of the Fifth Circuit handed down before Oct. 1, 1981 are binding
precedent in the Eleventh Circuit. Bonner v. City of Prichard, 661 F.2d 1206, 1209
(11th Cir. 1981)(en banc).

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“Omissions that are not reckless, but are instead negligent, . . . or insignificant and

immaterial, will not invalidate a warrant.”       Id.   “Indeed, even intentional or

reckless omissions will invalidate a warrant only if inclusion of the omitted facts

would have prevented a finding of probable cause.” Id.

      The undersigned finds that Thomas’s omission of the information from the

crime lab report at issue, i.e., that Defendant was sentenced under the First

Offender Act and that his DNA profile “will be removed from the database,” was

“insignificant and immaterial,” and certainly no worse than negligent. In the first

place, as explained above, the First Offender and DNA statutes do not compel a

conclusion that Defendant’s DNA profile should not have been included or

retained in the database due to his First Offender status, particularly where he had

not yet completed his First Offender sentence and been discharged. More

importantly, the Fourth Amendment does not compel such a conclusion.                In

addition, Investigator Thomas testified that he did not understand the significance

of the crime lab report’s notations about Defendant’s First Offender status or

understand those notations to indicate that he could not rely on the DNA match to

obtain a search warrant. (See Tr. 48-49, 52, 55, 58-59). His assessment that that

information was not material to his applications for search warrants was certainly

reasonable in light of the lack of textual support in the First Offender and DNA

statutes concerning whether First Offender DNA profiles should be included in

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CODIS, as discussed above. Moreover, the crime lab’s notation on the report that

Defendant’s “DNA profile will be removed from the database” does not indicate

that it had already been removed or that it should have already been removed. Nor

did it explain why it “will be removed” or indicate in any way that law

enforcement and courts were not authorized to rely on evidence of a match

between that profile and other samples. Accordingly, even if Investigator Thomas

was mistaken in his belief about the relevance or materiality of the information

concerning Defendant’s First Offender status, that mistake was reasonable in light

of the information he had available and in light of the plain reading of the statute.

      In addition, even if Investigator Thomas had included that information in his

affidavits, the undersigned finds that it would not “have prevented a finding of

probable cause,” Madiwale, 117 F.3d at 1327, because the affidavit would have

still shown that Defendant’s DNA profile matched the DNA from the sample taken

from the crime scene, thus establishing probable cause. See., e.g., Merriel v. Sec’y,

No. 6:11-cv-1100-Orl-37DAB, 2013 U.S. Dist. LEXIS 49019, at *10 (M.D. Fla.

Apr. 4, 2013) (“[H]ere the DNA evidence obtained from the victim[] matched a

known DNA profile in the CODIS database, thereby establishing a DNA match in

this case. That match was sufficient to make Petitioner a suspect in this case and to

establish probable cause to obtain a warrant to compel him to give a DNA

sample.”); Brown v. State, 605 S.E. 2d 885, 887-88 (Ga. App. 2004) (finding that it

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was unnecessary to show in the search warrant application that the state complied

with the DNA statute because the fact that the DNA sample matched the profile in

the system established probable cause).

       Because the search warrants issued in this case were not tainted by Fourth

Amendment      violations   and    were   issued   on    probable   cause,   it   is

RECOMMENDED that Defendant’s motions to suppress evidence seized

pursuant to those search warrants be DENIED.

IV.    Good Faith Exception To The Exclusionary Rule

       As Defendant correctly points out, the Government did not argue that the

good faith exception to the judicially created exclusionary rule described in United

States v. Leon, 468 U.S. 897 (1984) and its progeny applies to the searches in this

case.10   (See Doc. 45 at 1).     Instead, the Government argues that no Fourth

Amendment violation occurred here (see generally Doc. 43), and the undersigned

agrees. Nonetheless, out of an abundance of caution—and because Defendant will

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   Defendant also asserts that “the government apparently does not dispute that the
creation of the defendant’s DNA profile and uploading and retention in CODIS
was in violation of the Georgia DNA and First Offender statutes.” (Doc. 45 at 1).
To the extent that Defendant implies that the Government conceded those points,
the undersigned disagrees. Instead, the Government asserted that “[i]t is not
relevant whether it was a violation of state law for DOC to collect a buccal swap
from defendant, prepare a DNA profile from the saliva captured on the swap,
upload defendant’s DNA profile into CODIS, and confirm the match that occurred
with the unknown sample collected from the crime scene.” (Doc. 43 at 10
(emphasis added)). The Government argues (correctly), “That is because federal
law controls the admissibility of the DNA evidence in this federal criminal case.”
(Id.).
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have the opportunity to address this issue in his objections to this Report and

Recommendation—the undersigned has considered whether the good faith

exception applies.

         The exclusionary rule, which provides that evidence seized as the result of a

search violative of the Fourth Amendment may not be used by the Government in

a subsequent criminal prosecution, is “ ‘a judicially created remedy designed to

safeguard Fourth Amendment rights generally through its deterrent effect.’ ”

United States v. Martin, 297 F.3d 1308, 1312 (11th Cir. 2002) (quoting United

States v. Calandra, 414 U.S. 338, 348 (1974)). In Herring v. United States, 555

U.S. 135 (2009), the Supreme Court addressed the limited role of the exclusionary

rule:

         The fact that a Fourth Amendment violation occurredCi.e., that a
         search or arrest was unreasonableCdoes not necessarily mean that the
         exclusionary rule applies. Illinois v. Gates, 462 U.S. 213, 223[]
         (1983). Indeed, exclusion “has always been our last resort, not our
         first impulse,” Hudson v. Michigan, 547 U.S. 586, 591[] (2006), and
         our precedents establish important principles that constrain
         application of the exclusionary rule.

Id. at 140. The Court explained that “[t]o trigger the exclusionary rule, police

conduct must be sufficiently deliberate that exclusion can meaningfully deter it,

and sufficiently culpable that such deterrence is worth the price paid by the justice

system.” Id. at 144. The purpose of the exclusionary rule is “to deter deliberate,



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reckless, or grossly negligent conduct, or in some circumstances recurring or

systemic negligence.” Id.

      In the earlier case of United States v. Leon, the Supreme Court modified the

exclusionary rule to allow prosecutors to use evidence “obtained by officers acting

in reasonable reliance on a search warrant issued by a detached and neutral

magistrate but ultimately found to be unsupported by probable cause.” 468 U.S. at

900. In Martin, the Eleventh Circuit Court of Appeals explained what has become

known as the Leon good faith exception to the exclusionary rule:

      [Leon] stands for the principle that courts generally should not render
      inadmissible evidence obtained by police officers acting in reasonable
      reliance upon a search warrant that is ultimately found to be
      unsupported by probable cause. The Leon good faith exception
      applies in all but four limited sets of circumstances. Id. at 923. The
      four sets of circumstances are as follows: (1) where “the magistrate or
      judge in issuing a warrant was misled by information in an affidavit
      that the affiant knew was false or would have known was false except
      for his reckless disregard of the truth”; (2) “where the issuing
      magistrate wholly abandoned his judicial role in the manner
      condemned in” Lo-Ji Sales, Inc. v. New York, 442 U.S. 319[] (1979);
      (3) where the affidavit supporting the warrant is “so lacking in indicia
      of probable cause as to render official belief in its existence entirely
      unreasonable”; and (4) where, depending upon the circumstances of
      the particular case, a warrant is “so facially deficient B i.e., in failing
      to particularize the place to be searched or the things to be seized B
      that the executing officers cannot reasonably presume it to be valid.”
      Id. (internal quotation marks omitted).

Martin, 297 F.3d at 1313 (original formatting altered).


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      The first circumstance is clearly not present here—there is no evidence that

Investigator Thomas misled the issuing magistrate judge; the undersigned has

already addressed and rejected Defendant’s contention that Thomas improperly

omitted information about Defendant’s First Offender status and the notation that

is DNA profile “will be removed from CODIS.”          Nor is there any evidence that

the issuing magistrate judge wholly abandoned his judicial role. Moreover, the

affidavits supporting the warrants were not “so lacking in indicia of probable cause

as to render official belief in its existence entirely unreasonable,” nor were they

facially deficient in describing the person and/or places to be searched and things

to be seized.

      Moreover, there is no evidence that Investigator Thomas’s conduct in

seeking the warrants was “sufficiently deliberate that exclusion can meaningfully

deter it, and sufficiently culpable that such deterrence is worth the price paid by the

justice system,” or that he engaged in “deliberate, reckless, or grossly negligent

conduct,” such that exclusion of the evidence seized is warranted.11 Herring, 555

U.S. at 144. He obtained information from the crime lab that Defendant’s DNA

profile matched that of a DNA sample provided in connection with evidence from


11
  The same is true of the actions of Mr. Mundo and any other crime lab personnel
involved in the analysis of DNA’s profile and matching that profile with the crime
scene sample. The relevant statutes do not clearly state that Defendant’s DNA
profile should not have been included in CODIS; the DNA statute appears to state
the opposite.
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the crime scene, and the crime lab report he received did not indicate that

Defendant’s DNA profile should not have been in CODIS or that it could not be

used to make such a match. Nor do the First Offender Act or Georgia’s DNA

statute clearly state that Defendant’s DNA profile was “CODIS ineligible.”

Critically, relevant case law does not even suggest that the creation of a DNA

profile for incarcerated first offenders, inclusion of that profile in CODIS, and

subsequent use of that profile to create matches with other DNA evidence violate

the Fourth Amendment. Accordingly, even if Investigator Thomas’s reliance on

Defendant’s DNA profile match to seek the search warrants did violate the Fourth

Amendment, the undersigned finds that the evidence obtained as a result of those

warrants need not be suppressed due to the application of the good faith exception

to the exclusionary rule.

                                   Summary

      For the reasons discussed below, it is RECOMMENDED that Defendant’s

Motion To Suppress (Doc. 28) and Amended Motion To Suppress (Doc. 31) be

DENIED.

      IT IS SO ORDERED, REPORTED AND RECOMMENDED this 4th

day of May, 2015.

                                      /s/ J. CLAY FULLER
                                     J. CLAY FULLER
                                     United States Magistrate Judge

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